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Gary L. Blacklidge, OSB #902089
gary.blacklidge@jordanramis.com
Russell D. Garrett, OSB #882111
russell.garrett@jordanramis.com
Robyn L. Stein, OSB #993682
robyn.stein@jordanramis.com
JORDAN RAMIS PC
Two Centerpointe Dr., 6th Floor
Lake Oswego, Oregon 97035
Telephone: (503) 598-7070
Facsimile: (503) 598-7373

Attorneys for Candace Amborn, Chapter 7
Trustee




                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                    PORTLAND DIVISION

IN RE: PETER SZANTO,                              Case No. 3:19-cv-00213-SI

                Debtor.                           Bankr. Case No. 3:16-bk-33185-pcm7

                                                  CHAPTER 7 TRUSTEE CANDACE
                                                  AMBORN’S RESPONSE TO PETER
SUSAN SZANTO,                                     SZANTO’S MOTION FOR REHEARING
                Appellant,

       v.

STEPHEN P. ARNOT,

                Appellee.


       In response to this Court’s March 9, 2022 Scheduling Order (Doc. 58), Appellee Candace

Amborn, successor Chapter 7 Trustee (the “Trustee”), hereby submits her response to Peter

Szanto’s February 22, 2022 motion (Doc. 57). This response is supported by the Declaration of




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Robyn L. Stein (“Stein Decl.”), filed concurrently herewith, as well as the points and authorities

below.

          A. Relevant Background

          Mr. Szanto filed a Chapter 11 bankruptcy in the U.S. Bankruptcy Court for the District of

Oregon on August 16, 2016.1 The case was converted over Mr. Szanto’s objection to a case

under Chapter 7 on December 5, 2017.2 On February 26, 2018, Mr. Szanto filed a proof of claim

on behalf of his spouse, Susan Szanto (“Claim 14).3 The Chapter 7 Trustee objected to Claim 14

on March 21, 2018.4 On April 19, 2018, Mrs. Szanto filed an opposition to the objection,5 and on

October 24, 2018, the Court held an evidentiary hearing.6 The Trustee appeared at the hearing

and presented testimony and evidence to the Court.7 Mrs. Szanto did not appear and as a result,

could not be questioned about her claim.8 The Bankruptcy Court entered an order disallowing

Claim 14 in full on January 7, 2019.9




1
    In re Peter Szanto, 3:16-bk-33185 (Bankr. D. Or.).
2
  Id., Doc. #278. This Court may take judicial notice of documents filed in related proceedings
before the Bankruptcy Court, this Court, Circuit Courts of Appeals, and the California Superior
Court. Fed. R. Evid. 201; and In re Linton, 631 B.R. 882, n. 3 (B.A.P. 9th Cir. 2021), citing
Estate of Blue v. Cnty. of L.A., 120 F.3d 982, 984 (9th Cir. 1997) and Mullis v. U.S. Bankr. Ct.
for Dist. Of Nevada, 828 F.2d 1385, 1388 n.9 (9th Cir. 1987).
3
    See, Doc. 26-1, Appellee’s Appendix (“APP”), p. 156-162.
4
 Id., p. 163-167. The objecting Trustee was Stephen P. Arnot. Appellee Candace Amborn is the
successor Chapter 7 Trustee appointed in 2019. See, In re Peter Szanto, 3:16-bk-33185, Doc.
702.
5
    APP, p. 170-175.
6
    Id., p. 271.
7
    Id., p. 271; 207-261.
8
    Id., p. 271.
9
    Id., p. 272-80.


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          Mrs. Szanto appealed the order, and following the Trustee’s election, the appeal was

transferred from the Bankruptcy Appellate Panel (“BAP”) to this Court on February 11, 2019.10

She filed her brief on September 10, 202011 and the Trustee filed her response brief on October

1, 2020.12 Unfortunately, Mrs. Szanto passed away in December of 2020.

          Following his wife’s death, Mr. Szanto filed a motion to substitute himself as a party to

the appeal, which this Court denied without prejudice and with leave to re-file.13 This Court

stayed the case on March 5, 2021 in order to allow time for a renewed motion to be filed by a

duly appointed representative of the estate.14

          Mr. Szanto filed a second motion to substitute on January 4, 2022, which the Trustee

opposed.15 This Court denied the motion and dismissed the appeal on January 24, 2022.16 Even

though Mr. Szanto had shown he had been appointed administrator of the estate, this was

insufficient for him to proceed pro se in this appeal on the estate’s behalf:

          Szanto has not provided any evidence that he is the sole heir of Ms.
          Szanto’s estate. The Court declines to accept Mr. Szanto’s unsubstantiated
          statement to that effect. Mr. Szanto has also not provided any evidence
          that there are no creditors of Ms. Szanto’s estate. Further, the fact that Mr.
          Szanto was allowed only limited authority by the California probate court
          and has not been given authority to take possession of any money,
          property, or other assets, supports that there are (or may be) creditors (or
          other heirs) that the California probate court intended to protect by
          preventing Mr. Szanto from disbursing assets to himself absent court
          order.17

10
     Id., p. 281-86; 297.
11
     Doc. 25.
12
     Doc. 26.
13
     Doc. 32, 44.
14
     Doc. 44.
15
     Doc. 51, 52.
16
     Doc. 55, 56.
17
     Doc. 55, p. 3.


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          On February 22, 2022, Mr. Szanto filed a “motion for relief from dismissal,” which this

Court deemed and accepted as a late motion for rehearing under Fed. R. Bankr. P. 8022.18 The

only evidence Mr. Szanto has offered in support of rehearing is a California (Orange County)

Superior Court minute order, which indicates that Mr. Szanto testified under oath in Mrs.

Szanto’s probate proceeding that he is the sole heir to the estate.19 Pursuant to this Court’s order,

the Trustee now responds to the motion for rehearing.

          B. Points and Authorities

          As this Court previously pointed out to Mr. Szanto, in order to proceed pro se in this

appeal on behalf of the estate, Szanto must at least demonstrate that he is the sole heir of Mrs.

Szanto’s estate and that the estate has no creditors.20 He has not done so.

          The Trustee recently discovered that Mr. Szanto has taken the position in the probate

proceeding that the estate in fact does have at least one creditor. On January 31, 2022, Mr.

Szanto filed an ex parte motion, seeking (and receiving) a temporary restraining order (“TRO”)

to enjoin the foreclosure sale of his residence, by claiming to the probate court that the property

is an asset of the estate.21 That motion was submitted under penalty of perjury.22 In response,




18
     Doc. 57, 58.
19
     Doc 57-1.
20
  Doc. 55, citing Rodgers v. Lancaster Police & Fire Dep’t, 819 F.3d 205 (5th Cir. 2016);
Ortega v. San Diego Police Dept, 765 F. App’x 276 (9th Cir. 2019); Johns v. Cnty. of San Diego,
114 F.3d 874 (9th Cir. 1997); Pridgen v. Andresen, 113 F.3d 391 (2d Cir. 1997); Pappas v.
Philip Morris, Inc., 915 F.3d 889 (2d Cir. 2019); and Bass v. Leatherwood, 788 F.3d 228 (6th
Cir. 2015).
21
  Stein Decl, Ex. 1, p. 3 and Ex. 2. Specifically, see, e.g., Ex. 2, p. 15 (“Decedent Susan Szanto
and Administrator herein own 11 Shore Pine, Newport Coast CA as joint tenants.”).
22
     Id., Ex. 2, p. 18.


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JPMorgan Chase Bank, N.A. (“Chase”) filed a motion to intervene in the probate proceeding.23

In its motion, Chase asserts that per the Deed of Trust, the property is Mr. Szanto’s “sole and

separate property” and that Mr. Szanto misrepresented this fact to the probate court in order to

improperly obtain the TRO to halt the foreclosure sale.24 Mr. Szanto implies in his motion for

rehearing to this Court that as of the date of filing his motion he was not aware of any creditors.25

The motion for rehearing is also “verified” under penalty of perjury.26 It was filed on February

22nd, approximately three weeks after Mr. Szanto filed his motion for the TRO in California.

           In other words, either Mrs. Szanto’s estate has a creditor and Mr. Szanto lied by omission

to this Court in his motion for rehearing, or Mr. Szanto misrepresented the ownership of the

home to the probate court. Either way his motion for rehearing in this Court should be denied. If

Mrs. Szanto’s estate has a creditor, Mr. Szanto cannot proceed pro se in this appeal on the

estate’s behalf. If he misrepresented facts to either the probate court or this Court, his earlier

sworn testimony before the probate court that he is the estate’s sole heir should be given no

credibility.

           In addition, although Mr. Szanto gave sworn testimony in the probate proceeding

regarding the lack of heirs, that still contradicts sworn testimony before the Bankruptcy Court

and this Court.



23
     Stein Decl., Ex. 3.
24
     Id. Ex. 3 and Ex. 4, ¶1 and Ex. A.
25
  Doc. 57, p. 6 (“Whether creditors will come forward sometime in the future, whether those
claims will be accepted as timely…are matters which can not now (or perhaps ever) be
addressed…Short of driving around Orange County with a bullhorn speaker tied on his car
soliciting creditors, Peter Szanto has done all he can to elicit creditors to come forward.
Therefore, by Peter Szanto’s actions all fair and reasonable efforts to solicit creditors if any such
creditors there are have been made.”) (emphasis added).
26
     Id.


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          Mr. Szanto’s sworn schedules before the Bankruptcy Court identify a son, Jakkob Szanto,

who was 21 years old in 2018.27 Mr. and Mrs. Szanto’s recorded and notarized “Ante-Nuptial

Marriage Settlement and Pre-Marital Agreement,” which is part of the record of this appeal, also

identifies Jakkob Szanto as the parties’ child and states that Mr. and Mrs. Szanto would not

accumulate any community property during their marriage.28 And in both this appeal and the

Yankee Trust default appeal, Mr. and Mrs. Szanto reference their “children” in briefs filed with

the Court, in which they verified under penalty of perjury that all statements contained in the

briefs were true.29 Mr. Santo has also indicated in at least one filing to a district Court that Mrs.

Szanto had a brother.30 Mr. Szanto has not provided any explanation for the contradiction.

Finally, although Mr. Szanto argues in his motion for rehearing that some form of notice was

provided by publication in the Newport Beach News, it is unclear what that notice specifically

addressed, because he did not include a copy of the notice with his motion. Based on the

information currently before the Court, Mr. Szanto has not shown he is entitled to any relief. His

motion for rehearing should be denied.

///

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27
     In re Peter Szanto, 3:16-bk-33185, Doc. 318, p. 30.
28
  Doc. 26-1, APP p. 229 (“Susan Denise Bier and Peter Szanto, herewith acknowledge that
JAKKOB SZANTO, born November 20, 1996, is their natural child.”); p. 230 (“all
accumulation, salary or other benefit, which may accrue during their marriage, which would
otherwise be community property, shall retain the character of separate property. Neither party
will attempt to create community property in this marriage. Nor shall any property nominated
community property be such.”).
29
  Doc. 25, p. 4, 32; and Amborn v. The Yankee Trust Corporation, Case No. 3:18-cv-1841-SI
(D. Or.), Doc. 37, p. 13, 18, 21, 42.
30
  Doc. 26-1, APP, p. 245 (“Debtor reasonably believes that Susan Szanto has separate property
equitable and / or future interest property expectancies in the estates of her mother and
brother.”).


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       C.       Conclusion

       Mr. Szanto has asked this Court to vacate its dismissal of the appeal based on a California

probate court minute order showing that he testified under oath before that court that he is Mrs.

Szanto’s sole heir. But that sworn testimony contradicts other sworn testimony, given by Mr. and

Mrs. Szanto, before the bankruptcy court and this Court. It is also not credible. Mr. Szanto

implies in his motion for rehearing that there are no known creditors of Mrs. Szanto’s estate. But

he was aware at the time he filed his motion that he had obtained a TRO from the probate court

to stop the foreclosure sale of his home, by asserting that the home was an asset of the estate. He

has made factual misrepresentations to either this Court, the probate court, or both. His motion

should be denied.

       DATED this 18th day of March, 2022.

                                            JORDAN RAMIS PC



                                            By: /s/ Robyn L. Stein
                                                Gary L. Blacklidge, OSB #902089
                                                gary.blacklidge@jordanramis.com
                                                Russell D. Garrett, OSB #882111
                                                russell.garrett@jordanramis.com
                                                Robyn L. Stein, OSB #993682
                                                robyn.stein@jordanramis.com
                                                Telephone: (503) 598-7070
                                                Facsimile: (503) 598-7373

                                                 Attorneys for Candace Amborn, Chapter 7
                                                 Trustee




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date shown below, I electronically filed the

foregoing RESPONSE TO MOTION FOR REHEARING with the Clerk of the Court using

the CM/ECF system.

       I also certify the document and a copy of the Notice of Electronic Filing was served via

U.S. Mail on the following non-CM/ECF participants:

        Susan Szanto
        11 Shore Pine
        Newport Coast, CA 92657




                                                        /s/ Robyn L. Stein
                                                        Robyn L. Stein, OSB #993682
                                                        robyn.stein@jordanramis.com




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